   Case 3:12-cr-00647-CCC       Document 69      Filed 05/14/13   Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 12-0647CCC
 1) JORGE SUAREZ-ALBELO
 2) JOEL PERPINA-QUILES
 Defendants


                                         ORDER

       Having considered the Report and Recommendation filed on April 22, 2013 (docket
entry 65) on a Rule 11 proceeding of defendant Jorge Suárez-Albelo (1) held before
U.S. Magistrate Judge Bruce J. McGiverin on April 18, 2013, to which no objection has been
filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is accepted. The
Court FINDS that his plea was voluntary and intelligently entered with awareness of his
rights and the consequences of pleading guilty and contains all elements of the offense
charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since April 18, 2013. The sentencing hearing is set for July 18, 2013
at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on May 14, 2013.



                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
